
In re Lewis, Alvin; — Plaintiff(s); applying for supervisory and/or remedial writ; Parish of Orleans, Criminal District Court, Div. “J”, No. 270-218.
Writ granted in part, otherwise denied. Because the terms of the statutes under which relator was sentenced do not include a prohibition on parole for the entire term, see R.S. 14:62.2; R.S. 15:529.1, the district court is directed to resentence relator to a term which does not include such a prohibition. Except for the one-year restriction provided for in the underlying statute, relator’s parole eligibility is to be determined by the Department of Corrections pursuant to R.S. 15:574.4. See State ex rel. Tucker v. Ward, 94-1850 (La. 9/20/96), 679 So.2d 414; St. Amant v. 19th JDC 94-0567 (La. 9/3/96), 678 So.2d 536; State v. Booivell, 406 So.2d 213, 216 (La.1981); cf. State ex rel. Simmons v. Stalder, 93-1852 (La. 1/26/96), 666 So.2d 661.
CALOGERO, C.J., not on panel.
